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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE
AHTESHAM AHMED, derivatively on
behalf of ZUORA INC.,
                 Plaintiff,
     v.
MARC DIOUANE, PETER FENTON,               Case No. 1:20-cv-00714-CFC
KENNETH A. GOLDMAN, TIMOTHY
HALEY, JASON PRESSMAN, TYLER
SLOAT, TIEN TZUO,
MICHELANGELO VOLPI, and
MAGDELENA YESIL,
                 Defendants,
     - and -
ZUORA, INC.,
                 Nominal Defendant.


KENNETH SCHUSTER, derivatively on
behalf of ZUORA, INC., PLAINTIFF,
                 Plaintiff,
     v.
MARC DIOUANE, PETER FENTON,
KENNETH A. GOLDMAN, TIMOTHY
HALEY, JASON PRESSMAN, TYLER              Case No. 1:20-cv-00745-UNA
SLOAT, TIEN TZUO,
MICHELANGELO VOLPI, and
MAGDELENA YESIL,
                 Defendants,
     - and -
ZUORA, INC.,
                 Nominal Defendant.


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  JOINT STIPULATION AND [PROPOSED] ORDER CONSOLIDATING
      RELATED STOCKHOLDER DERIVATIVE ACTIONS AND
           ESTABLISHING A LEADERSHIP STRUCTURE

      WHEREAS, on May 28, 2020, Plaintiff Ahtesham Ahmed filed a stockholder

derivative action on behalf of nominal defendant Zuora, Inc. (“Zuora” or the

“Company”) in this Court alleging breaches of fiduciary duty, unjust enrichment,

waste of corporate assets, and violations of the Securities Exchange Act of 1934 (the

“Exchange Act”) against defendants Marc Diouane, Peter Fenton, Kenneth A.

Goldman, Timothy Haley, Jason Pressman, Tyler Sloat, Tien Tzuo, Michelangelo

Volpi, and Magdalena Yesil (collectively, the “Individual Defendants,” and together

with Zuora, the “Defendants”), captioned Ahmed v. Diouane et al, Case No. 1:20-

cv-00714-CFC (the “Ahmed Action”);

      WHEREAS, on June 3, 2020, Plaintiff Kenneth Schuster filed a stockholder

derivative action alleging substantially similar facts and making substantially similar

claims against a group of similar defendants in this Court, captioned Schuster v.

Diouane et al, Docket No. 1:20-cv-00745-UNA (the “Schuster Action” and together

with the Ahmed Action, the “Related Derivative Actions”);

      WHEREAS, under Fed. R. Civ. P. 42(a), when actions involve “a common

question of law or fact,” the Court may “(1) join for hearing or trial any or all matters

at issue in the actions; (2) consolidate the actions; or (3) issue any other orders to

avoid unnecessary cost or delay”;


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          WHEREAS, the Related Derivative Actions challenge substantially the same

alleged conduct by the same Company directors, executive officers, and involve

substantially the same questions of law and fact;

          WHEREAS, the parties therefore respectfully submit that consolidation of the

Related Derivative Actions is appropriate;

          WHEREAS, to avoid potentially duplicative actions and to prevent any waste

of the Court’s and nominal defendant’s resources, the parties agree that the Related

Derivative Actions should be consolidated for all purposes, including pretrial

proceedings and trial, into a single consolidated action;

          WHEREAS, in order to realize the efficiencies made possible by

consolidation of the Related Derivative Actions, the Plaintiffs agree that Pomerantz

LLP and Shuman, Glenn & Stecker, the respective resumes of which are attached

hereto as Exhibits A and B, shall be designated as Co-Lead Counsel representing

Plaintiffs in the consolidated action;

          WHEREAS, within 30 days of the Court granting this proposed order, the

parties will meet and confer to determine an appropriate schedule for the

consolidated action;

          WHEREAS, the Plaintiffs also agree that O’Kelly & Ernst, LLC, shall be

designated Liaison Counsel representing Plaintiffs in the consolidated action;1 and


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    Defendants take no position on the appointment of Plaintiffs’ Lead Counsel and Liaison Counsel.
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      NOW THEREFORE, the parties, through their undersigned counsel, hereby

agree, stipulate, and respectfully request that the Court enter an Order as follows:

      1.     The following actions are hereby consolidated for all purposes,

including pre-trial proceedings and trial, under Case No. 1:20-cv-00714-CFC (the

“Consolidated Action”), pursuant to Federal Rule of Civil Procedure 42(a):



        Case Name                  Case Number                    Date Filed

 Ahmed v. Diouane et al.        1:20-cv-00714-CFC               May 28, 2020

 Schuster v. Diouane et al.     1:20-cv-00745-UNA                June 3, 2020



      2.     Every pleading filed in the Consolidated Action, or in any separate

action included herein, must bear the following caption:

                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE


IN RE ZUORA INC., DERIVATIVE                      Lead Case No. 1:20-cv-00714-CFC
LITIGATION


      3.     All papers filed in connection with the Consolidated Action will be

maintained in one file under Lead Case No. 1:20-cv-00714-CFC.




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      4.     This Stipulation is without prejudice to any and all defenses Defendants

may assert in this or any of the above-referenced actions and without prejudice to

any and all claims Plaintiffs may assert.

      NOW THEREFORE, Plaintiffs, through their undersigned counsel, hereby

respectfully request that the Court enter an order as follows:

      1.     Co-Lead Counsel for Plaintiffs for the conduct of the Consolidated

Action shall be:

                              POMERANTZ LLP
                           Gustavo F. Bruckner, Esquire
                           Daryoush Behbood, Esquire
                                600 Third Avenue
                              New York, NY 10016
                                 (212) 661-1100
                            gfbruckner@pomlaw.com
                            dbehbood@pomlaw.com

                        SHUMAN, GLENN & STECKER
                                Kip B. Shuman
                           100 Pine Street, Ste. 1250
                           San Francisco, CA 94111
                                (303) 861-3003
                           kip@shumanlawfirm.com

                                  Rusty E. Glenn
                         600 17th Street, Suite 2800 South
                                Denver, CO 80202
                                 (303) 861-3003
                           rusty@shumanlawfirm.com

                                 Brett D. Stecker
                             326 W. Lancaster Avenue
                               Ardmore, PA 19003
                                 (303) 861-3003
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                              brett@shumanlawfirm.com


      2.     Plaintiffs’ Co-Lead Counsel shall have the sole authority to speak for

Plaintiffs in all matters regarding pre-trial procedure, trial, and settlement

negotiations and shall make all work assignments in such manner as to facilitate the

orderly and efficient prosecution of this litigation and to avoid duplicative or

unproductive effort.

      3.      Co-Lead Counsel shall be responsible for coordinating all activities

and appearances on behalf of Plaintiffs. No motion, request for discovery, or other

pre-trial or trial proceedings will be initiated or filed by any Plaintiffs except through

Co-Lead Counsel.

      4.     Liaison Counsel for Plaintiffs for the conduct of the Consolidated

Action shall be:

                            O’KELLY & ERNST, LLC
                             Ryan M. Ernst (No. 4788)
                          824 N. Market Street, Ste. 1001A
                              Wilmington, DE 19801
                                  (302) 778-4000
                                rernst@oelegal.com


      5.     Plaintiffs’ Liaison Counsel shall be available and responsible for

communications to and from this Court, including distributing orders and other

directions from the Court to counsel. Liaison Counsel shall be responsible for



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creating and maintaining a master service list of all parties and their respective

counsel.

       6.     Defendants’ counsel may rely upon all agreements made with Co-Lead

Counsel, or other duly authorized representative of Co-Lead Counsel, and such

agreements shall be binding on all Plaintiffs.

       7.     This Order shall apply to each derivative case arising out of the same,

or substantially the same, transactions or events as the Consolidated Action, that is

subsequently filed in, removed to, reassigned to, or transferred to this Court. When

a derivative case that properly belongs as part of In re Zuora Inc., Derivative

Litigation, Lead Case No. 1:20-cv-00714-CFC, is hereafter filed in this Court,

reassigned to this Court, or transferred here from another court, this Court requests

the assistance of counsel in calling to the attention of the Clerk of the Court the filing,

reassignment, or transfer of any derivative case that might properly be consolidated

as part of In re Zuora Inc., Derivative Litigation, Lead Case No. 1:20-cv-00714-

CFC, and counsel are to assist in assuring that counsel in subsequent actions receive

notice of this order.

 IT IS SO ORDERED:

 Dated: __________________
                                                    Hon. Colm F. Connolly
                                                    United States District Judge




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STIPULATED TO AND APPROVED BY:



Dated: June 29, 2020                       O’KELLY & ERNST, LLC

                                           /s/ Ryan M. Ernst
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                                           Liaison Counsel for Plaintiffs

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                                           Counsel for Plaintiff Ahtesham
                                           Ahmed

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                                           STECKER
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                                          Counsel for Plaintiff Kenneth
                                          Schuster


                                         FENWICK & WEST LLP
                                         Susan S. Muck
                                         Catherine Kevane
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                                         555 California Street, 12th Floor
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                                         ckevane@fenwick.com
                                         kmarshall@fenwick.com

                                         Counsel for Defendants




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